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     GENARO LUNA
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8
                                             UNITED STATES DISTRICT COURT
9
                                            EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,                           No. Cr. S 07-cr-571 GEB
12
                               Plaintiff,                STIPULATED MOTION AND ORDER
13                                                       TO REDUCE SENTENCE PURSUANT TO 18
               v.                                        U.S.C. § 3582(c)(2)
14
     GENARO LUNA,                                        RETROACTIVE DRUGS-MINUS-TWO
15                                                       REDUCTION CASE
                               Defendant.
16                                                       Judge: Honorable GARLAND E. BURRELL, JR.

17             Defendant, GENARO LUNA, by and through his attorney, Assistant Federal Defender
18   Hannah R. Labaree, and plaintiff, UNITED STATES OF AMERICA, by and through its counsel,
19   Assistant U.S. Attorney Jason Hitt, hereby stipulate as follows:

20             1.         Pursuant to 18 U.S.C. § 3582(c)(2), this Court may reduce the term of

21   imprisonment in the case of a defendant who has been sentenced to a term of imprisonment

22   based on a sentencing range that has subsequently been lowered by the Sentencing Commission

23   pursuant to 28 U.S.C. § 994(o);

24             2.         On February 12, 2010, this Court sentenced Mr. Luna to a term of 136 months

25   imprisonment;

26             3.         Mr. Luna’s total offense level was 35, his criminal history category was III, and

27   the resulting guideline range was 210 to 262 months. He received a reduction off the low-end of

28   the guideline range on the government’s motion;

     Stipulation and Order Re: Sentence Reduction          1
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1              4.         The sentencing range applicable to Mr. Luna was subsequently lowered by the
2    United States Sentencing Commission in Amendment 782, made retroactive on July 18, 2014,
3    see 79 Fed. Reg. 44,973;
4              5.         Mr. Luna’s total offense level has been reduced from 35 to 33, and his amended
5    guideline range is 168 to 210 months. A reduction comparable to the one he received initially
6    yields a term of 109 months. However, Mr. Luna is subject to the statutory mandatory minimum
7    of 120 months;
8              6.         Accordingly, the parties request the Court enter the order lodged herewith
9    reducing Mr. Luna’s term of imprisonment to a total term of 120 months.
10   Respectfully submitted,
11   Dated: August 12, 2015                             Dated: August 12, 2015
12   BENJAMIN B. WAGNER                                 HEATHER E. WILLIAMS
     United States Attorney                             Federal Defender
13
14    /s/ Jason Hitt______                              /s/ Hannah R. Labaree __
     JASON HITT                                         HANNAH R. LABAREE
15   Assistant U.S. Attorney                            Assistant Federal Defender
16   Attorney for Plaintiff                             Attorney for Defendant
     UNITED STATES OF AMERICA                           GENARO LUNA
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     Stipulation and Order Re: Sentence Reduction          2
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1                                                   ORDER
2              This matter came before the Court on the stipulated motion of the defendant for reduction
3    of sentence pursuant to 18 U.S.C. § 3582(c)(2).
4              The parties agree, and the Court finds, that Mr. Luna is entitled to the benefit Amendment
5    782, which reduces the total offense level from 35 to 33, resulting in an amended guideline range
6    of 168 to 210 months. A reduction comparable to the one received initially, limited by operation
7    of the mandatory minimum, yields a term of 120 months.
8              IT IS HEREBY ORDERED that the term of imprisonment imposed in February 2010 is
9    reduced to a term of 120 months.
10             IT IS FURTHER ORDERED that all other terms and provisions of the original judgment
11   remain in effect. The clerk shall forthwith prepare an amended judgment reflecting the above
12   reduction in sentence, and shall serve certified copies of the amended judgment on the United
13   States Bureau of Prisons and the United States Probation Office.
14             Unless otherwise ordered, Mr. Luna shall report to the United States Probation Office
15   within seventy-two hours after his release.
16   Dated: August 12, 2015
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     Stipulation and Order Re: Sentence Reduction      3
